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   8                SUPERIOR COURT OF THE STATE OF CALIFORNIA
   9                                COUNTY OF SAN DIEGO
  10

  11   MICHELLE MORIARTY, an                     Case No.: 3:17-cv-01154-LAB-AGS
       individual, as Successor in Interest to
  12   the ESTATE OF HERON                       OPPOSITION TO DEFENDANT
       MORIARTY and as GUARDIAN AD               AMANDA DANIELS PNP AND
  13   LITEM to ALEXANDRIA                       CORRECTIONAL PHYSICIANS
       MORIARTY, ELIJAH MORIARTY,                MEDICAL GROUP, INC.’S MOTION
  14   and ETERNITY MORIARTY,                    IN LIMINIE NO. 11 TO EXCLUDE
                                                 PLAINTIFFS’ TRIAL EXHIBIT NO. 46
  15                              Plaintiff,
                                                 [Motion in Liminie No. 11 of 12]
  16         v.
                                                 Date:       July 13, 2020
  17   COUNTY OF SAN DIEGO, and                  Time:       2:00 p.m.
       DOES 1 through 10, Inclusive,             Dept:       1410
  18                                             Judge:      Hon. Larry A. Burns
                                  Defendants.
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   1                                             I.
   2                         INTRODUCTION TO THE MOTION
   3         Defendants Correctional Physician’s Medical Group (“CPMG”) and Amanda
   4   Daniels (collectively referred to herein as “Defendants”) move this Court to exclude
   5   Exhibit 46, internal emails produced by the county. The emails establish a pattern
   6   of similar events, lack of training, and some pertain directly to Heron Moriarty.
   7   Exhibit 46 includes Exhibit 40 and Exhibit 41, the subject of Defendants’ motions
   8   in limine No. 9 and No. 10. The bases for exclusion of Exhibit 46 is identical to the
   9   basis for exclusion in Defendants’ motions in limine No. 9 and No. 10.
  10         Again, CPMG argues that the internal emails are not relevant to Daniels and
  11   CPMG. For the most part, Plaintiffs agree with the exception of Exhibit 40 and
  12   Exhibit 41, and a handful of others. However, Exhibit 46 is highly relevant to
  13   Plaintiffs’ Canton claims, which, as the Court indicated, will not be bifurcated in
  14   this case. Specifically, Exhibit 46 is a collection of internal emails produced by the
  15   county in relation to discovery in pursuant of Plaintiffs’ Canton claims. The emails
  16   were the subject of much debate and effort. The scope of the emails was narrowly
  17   tailored but expansive within the context of suicide prevention. Notably, the county
  18   did not object to the admissibility of Exhibit 46 because it is well aware of the
  19   relevancy those emails have to Plaintiffs’ municipal claims.
  20         However, Defendants do not take issue with any of the emails specifically
  21   other than that “the subject matter involves the County’s consideration of a “for
  22   cause” termination of its contract with CPMG, coverage of the inmate deaths by
  23   San Diego CityBeat, and prison procedures and protocol among various other
  24   topics.” (Motion [Dkt. 176], 3:12-22.)
  25         Defendants rely on the same legal arguments in support of preclusion as it
  26   did in motions in limine No. 9, No. 10, and No. 11. Plaintiffs opposed those
  27   motions and incorporates by reference its response herein. [Dkt. 243.] If the Court
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   1   is inclined to admit Exhibit 40 and 41, that ruling should be controlling here as
   2   well.
   3                                             II.
   4   THE INTERNAL EMAILS ARE ADMISSIBLE FOR SEVERAL REASONS
   5           The issue with CPMG and Exhibit 46 is that it fails to see the global
   6   relevancy of the internal emails to Plaintiffs’ Canton claims. Plaintiffs will not use
   7   the documents to prove CPMG had a conforming habit, nor will Plaintiffs rely on
   8   the emails to establish that CPMG had “routine practices.” Rather, these
   9   documents illustrate direct notice and deliberate indifference on the part of the
  10   county in regards to deliberately maintaining a deficient prevention policy.
  11           A.    Relevancy
  12           Defendants argue that many of the internal emails do not apply to Daniels
  13   and CPMG. Defendants are correct. But that does not mean they are not relevant
  14   to the claims against the county. For example, Defendants take issue with internal
  15   emails that relate to “suicide and self-harm attempts by other inmates, occasions of
  16   inmates falling off top bunks, San Diego City Best news article from 2013
  17   regarding inmate deaths, laundering routine for blankets, suicide prevention
  18   blankets to be used by inmates, and razor restriction protocol.” (Motion [Dkt. 176],
  19   5:13-22.) With the exception of laundering routine, the relevancy of the above-
  20   mentioned documents speaks to the heart of Plaintiffs’ second cause of action, as
  21   well as to the burden of establishing a pattern of pre-existing preventable suicides
  22   that would have put the county on notice that it was maintaining a deficient, injury-
  23   causing prevention program. Defendants argue that some of the previous suicides
  24   referenced in Exhibit 46 involve dissimilar instances of previous suicides, i.e,
  25   different methods of suicide. However, the method, jail, or time of day is
  26   immaterial. The ultimate question is foreseeability and preventability.
  27           The emails pertaining to other instances where a CPMG providers fell below
  28   the standard of care is relevant to the burden Plaintiffs’ must establish against the
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   1   county, i.e., a pattern of similar events where inadequate psychiatric treatment
   2   caused the injury or death of an inmate. This is proof of a pattern and proof that the
   3   county was maintaining untrained and unsupervised mental health providers.
   4   Accordingly, these emails are highly relevant to Plaintiffs’ Canton claims.
   5         B.     Party Admission
   6         Again, the internal emails are not hearsay because they are not being offered
   7   for the truth of the matter, but to establish notice of inadequacy in care. However,
   8   pursuant to Federal Rule of Evidence 801(d), certain types of statements are “not
   9   hearsay.” These include party admissions and employee party admissions.
  10   801(d)(2); Oracle U.S.A. v. SAP AG, 2012 U.S. Dist. LEXIS 107147, *6 (Cal. N.D.
  11   2012). An employee party admission is a statement offered against an opposing
  12   party, made by a declarant who was an employee of the party at the time the
  13   statement was made, and which concerns a matter “within the scope of the agency
  14   or employment.” See Sea-Land Serv., Inc. v. Lozen Int'l, LLC, 285 F.3d 808, 821
  15   (9th Cir. 2002). The term “[W]ithin the scope of the agency or employment” is
  16   generally interpreted as meaning that the statement is “related to the declarant's
  17   duties.” 5 Weinstein's Federal Evidence § 801.33[2][c]; Oracle U.S.A. v. SAP AG,
  18   2012 U.S. Dist. LEXIS 107147, *6 (Cal. N.D. 2012). Admissions by a party-
  19   opponent are excluded from the category of hearsay, and no guarantee of
  20   trustworthiness is required in the case of an admission. Id.
  21         Here, all of the emails are internal communications (Exhibit 46) between the
  22   county regarding suicide prevention, training, CityBeat articles, previous suicides,
  23   and specifically Moriarty’s suicide. These communications are party admissions
  24   and as such are admissible to use against the county. Notably, the county did not
  25   object to Exhibit 46.
  26         C.     Then Existing State of Mind
  27         Again, the documents not hearsay because they not being offered for the
  28   truth of the matter, but to establish notice of inadequacy in care and program
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   1   deficiency. However, pursuant to Rule 803(3), the documents do illustrate Dr.
   2   Joshua’s then existing state of mind pertaining to his plan to terminate CPMG for
   3   cause based on its systemic failures in training and supervising its psychiatrists.
   4   Meaning, it is direct evidence that the county made a deliberate and conscious
   5   choice to maintain course in 2015 and later knowing that the mental health
   6   treatment offered in jails were inadequate and causing preventable suicides. See
   7   City of Canton v. Harris, 489 U.S. 378, 389 (1989).
   8         D.     Subsequent Remedial Measures are Admissible in Monell Claims
   9         Defendants argue that because the internal emails illustrate a pre-existing
  10   problem with CPMG’s lack of training and supervising, which if addressed earlier
  11   could have prevented Moriarty’s suicide, it is evidence of subsequent remedial
  12   measures and therefore are not admissible. However, Rule 407 explicitly carves
  13   out an exception if there is another purpose of admissibility, such as notice.
  14         In Henry v. County of Shasta, 132 F.3d 512, 519 (9th Cir. 1997), the Ninth
  15   Circuit held, “we reiterate our rule that post-event evidence is not only admissible
  16   for purposes of proving the existence of a municipal defendant's policy or custom,
  17   but is highly probative with respect to that inquiry.” Subsequent remedial measures
  18   can also be relied on in Monell cases in order to establish a pattern of similar
  19   events. See George v. Sonoma County Sheriff’s Dep’t, 2010 U.S. Dist. LEXIS
  20   111193 (Cal. N. D. 2010; Clouthier v. County of Contra Costa, 591 F.3d 1232,
  21   1249, 1251 (9th Cir. 2010).
  22         Here, the internal emails illustrate that the county knew that publicly
  23   admitting CPMG was terminated for cause, due to their non-existent training and
  24   supervising, would put the county in hot water as they are the contracting and
  25   supervising agency. This is post-event evidence proving the existence of the
  26   county’s inadequate prevention program, as well as prove of notice and deliberate
  27   indifference. The emails also admit that the county knew it had a problem with
  28   suicide prevention, and that its training program was inadequate and outdated.
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   1          E.     Authentication and Foundation
   2          Both Dr. Joshua and Dr. Mannis are included in Plaintiffs’ witness list. Dr.
   3   Joshua will be called to authenticate and lay proper foundation for his emails, and
   4   the emails of his direct subordinates. Notably, typically the county and Plaintiffs
   5   stipulate to authenticity of produced documents. The county did not object to
   6   Exhibit 46.
   7                                            III.
   8         THE EMAIL CHAIN AND TERMINATION FOR NOTICE ARE NOT
   9                               OVERLY PREJUDICIAL
  10          CPMG argues, “The admission of evidence that the county contemplated ‘for
  11   cause’ termination or was otherwise critical as to the quality of CPMG providers
  12   will only serve to confuse the issues and mislead the jury.” (Motion [Dkt. 176],
  13   10:20-22.) While CPMG may not like it, this evidence is highly relevant to
  14   Plaintiffs’ Canton claims because if the county was critical as to the quality of care
  15   prior to Heron Moriarty’s suicide yet chose not address the issue, that is direct
  16   proof of notice on the part of the county.
  17          CPMG argues that a certain portion of the documents that directly addresses
  18   the preventability of Heron Moriarty’s suicide is misleading and highly prejudicial
  19   but CPMG does not explain why it is misleading or prejudicial. It is only
  20   “misleading” because both CPMG and the County claim there was no wrongdoing
  21   by Daniels and Lissaur; but, behind closed doors the county was blaming Daniels,
  22   Lissaur, and CPMG for Heron Moriarty’s suicide.
  23          As for the other emails referencing previous inmate suicides, those emails
  24   establish a pattern (and notice of) a pre-existing pattern of preventable and
  25   foreseeable suicides.
  26          Without these documents, Plaintiffs do not have any other evidence
  27   illustrating direct notice and admission that the county knowingly maintained an
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   1   inadequate suicide prevention policy. Exclusion of this evidence would be
   2   damming to Plaintiffs’ Canton claims.
   3                                                IV.
   4                                THE GIRTH OF EMAILS
   5         Plaintiffs are mindful that the focus of this opposition is the relevancy of the
   6   internal emails to the claims alleged against CPMG and Daniels. In response,
   7   Plaintiffs contend the relevancy of Exhibit 46 is to their Canton claims. With that
   8   said, Plaintiffs acknowledge that volume of emails contained in Exhibit 46 is
   9   daunting. If this Court requests, Plaintiffs will review Exhibit 46 for only those
  10   emails Plaintiffs will certainly rely on.
  11                                                 V.
  12                                      CONCLUSION
  13         As argued above, Exhibit 46 is Plaintiffs’ only pieces of evidence illustrating
  14   notice and admission on the part of the county. It is relevant and relied on to prove
  15   notice, not the truth of the matter. Accordingly, Defendants’ motion should be
  16   denied.
  17
                                                          MORRIS LAW FIRM, APC
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  19
       Dated: June 1, 2020                         By: __s/ Christopher S. Morris __________
  20                                                     Christopher S. Morris, Esq.
  21                                                     Danielle R. Pena, Esq.
                                                         Attorney for Plaintiffs
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